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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL                                               CIVIL ACTION

VERSUS                                                             NO. 12-859

MARLIN GUSMAN, ET AL                                               SECTION I


                                         ORDER

      IT IS ORDERED that the in-chambers status conference scheduled for Tuesday, April

2, 2019 at 7:30 A.M. is CANCELLED.

      New Orleans, Louisiana this 1st day of April, 2019.


                                                  _________________________________
                                                        LANCE M. AFRICK
                                                  UNITED STATES DISTRICT JUDGE
